cc  Buiwoines & Sarety Ewoinserinc DerartTmMent

Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.403 Filed 04/07/15 Page 1 of 12

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2 Woopwarp Avenue, Fourtu FLoor
Detroit, Mictican 48226
WWW,CLDETROIT.MLUS

Crrv or Derroir

afel/a

Kevin Jones, Manager Southwes+ Meta k tne, / Fa WZ.
BSEED Business License Center Business Name/Owner
2 Woodward Avenue, Ste 105 BUS a20})0- O04 29
C.A.Y.M.C Business License
Detroit, MI 48226 RIAR Fort S#
Street Address
vo nt .. Detroit, ML Fe ee -

LETTER OF INTENT TO SUSPEND/REVOKE BUSINESS LICENSE

Re: Show Cause Hearing

Business License BUS_ 201 0~—~Q04-3X
Hearing Case No.: 14-BLC- 1g

In January 2014, The Buildings, Safety Engineering and Environmental

Department, Business License Center(BL requested that

the SCrap TZLrop/ | A e4g/ P recesse r
e

be suspended or revoked for the reasons listed in the attached

Notice to Appear.

The City of Detroit, Buildings, Safety Engineering and Environmental
Department BLC provided evidence that it will show proof that the business violated:

« Detroit City Code Section 30-1-16(a)(2)(c)(5)- Specified criminal activity
(related to the selling and or receiving of stolen scrap metal)

* Detroit City Code Section 30-1 -16(a})(2)f. That the business to be licensed,
or currently licensed by the City, constitutes a specific hazard or threat to
the peace, health, safety or welfare of the public.

Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.404 Filed 04/07/15 Page 2 of 12

The City of Detroit presented evidence showing that probable cause exists to
suspend or revoke the business license, Pursuant to Detroit City Code Section 30-1-17(b), the
licensee is hereby notified of the City of Detroit’s intent to suspend or revoke the license for the

_reasons stated. ,

\ This__matter_is hereby scheduled for a pre-hearing conference on

Aen, | iD, ae 4 af lq for a face to face conference, at the offices of the Buildings,
Safety Engineering and Environmental Department, 4:48 Coleman A. Young Municipal Center,
2 Woodward Ave., Detroit, Michigan 48226,

This matter_is hereby scheduled for _a Show Cause Hearing _ on

her l dol, Robt af-/! 00 pm at the offices of the Buildings, Safety Engineering
and Environmentdl Department, 4of Coleman Young Municipal Center, 2 Woodward Ave.,
Detroit, Michigan 48226,

If the City of Detroit BSEED or the business owner requires a change of date or
time of the pre-hearing conference or the Hearing, please contact BSEED Business License
Center at (313) 224-3179,

Please note that due to reorganization, the Buildings, Safety Engineering and
Environmental Department, Business License Center performs the function previously handled
by the Consumer Affairs Department.

Please note also that the business owner shall be present at the pre-hearing
conference and Show Cause Hearing, otherwise the business will be subject to closure.

Sincerely,

Kevin Jones, Manager

Business License Center

cc: Geni Gianotti, Interim Director, BSEED
City of Detroit Law Department

Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.405 Filed 04/07/15 Page 3 of 12

STATE OF MICHIGAN
CITY OF DETROIT
BUILDINGS, SAFETY ENGINEERING AND ENVIRONMENTAL DEPARTMENT

DATE: 3/31 /)4:
304%h wasp! (Weta/s Ti ne/, FG W/9 2.
Business/Owner .

Business License BUS _AO/D-C§OY¢%33. CASE NO.: 14-BLC- / 7
6/09 Fort

Street Address

Detroit, MI _#A#S POF

~ NOTICE TO APPEAR

Before the City of Detroit, Buildings Safety Engineering and Environmental Hearing Officer
on MMarc4 3] 2014

PRESENT: RICHARD J. BOWERS, JR
Hearing Officer

THIS MATTER HAVING COME before the City of Detroit, Buildings Safety
Engineering & Environmental Department, Show Cause Hearings Division, upon the City of
Detroit’s request for a Show Cause Hearing, and the Hearing Officer having been advised:

WHEREAS, The City of Detroit presented evidence amounting to probable cause
that the business operation is in violation of the following:

¢ Detroit City Code Section 30-1-16(a)(2)(c)(5)- Specified criminal activity
(related to the selling and or receiving of stolen scrap metal)

* Detroit City Code Section 30-1-16(a)(2)f That the business to be licensed,
or currently licensed by the City, constitutes a specific hazard or threat to
the peace, health, safety or welfare of the public.

Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.406 Filed 04/07/15 Page 4 of 12

WHEREAS, this Notice to Appear is notice of the City of Detroit’s intention to suspend
or revoke the SErep LPOM A mY ayes Bp focessep fic G7) SC

v

IT IS ORDERED that the City of Detroit, Buildings Safety Engineering and
Environmental Department, Business License Center and its representatives and the owner(s)
of the business shall come before this Hearing Officer on:

Apul 10 AOL AK 10 ant for _a face to face pre-

hearing conference at the offices of the Buildings, Safety Engineering and Environmental
Department, PY § Coleman A. Young Municipal Center, 2 Woodward Ave., Detroit,
Michigan 48226,

IT IS FURTHER ORDERED that the City of Detroit, Buildings Safety Engineering and
Environmental Department, Business License Center and its representatives and the owner(s) of -

the business shall come before this Hearing Officer on:

ft 4 dy at } PMY at the offices of the

Buildifigs, Safety Engineering and Environmental Department, <40/ Coleman Young
Municipal Center, 2 Woodward Ave., Detroit, Michigan 48226 for a Show Cause hearing to
provide evidence and to show good cause as to:

Whether the business license for ~° awh, Me 7 fh o/s Lne- at
LAR Ferp- St should _be suspended or _yevoked pursuant to
Chapter 30 of the Detroit City Code.

Lei Gog»,

Richard J. Bowérs, Jr. Poyan/
Administrative Hearing Office

City of Detroit

Buildings, Safety Engineering and Environmental
Department

"Case °2:15-cy dd 80j/MOR-APP ECF No. 16-10, PagelD.407 Filed 04/07/15 Page 5 of 12

DETROIT POLICE DEPARTMENT

INVESTIGATOR’S REPORT

CASE # 1305050069
DATE: 05-06-2013

INCUSTODY DEFENDANT NAME ADDRESS WITH ZIP
ves | KO CODE — [ase [sex | Race DO, IDENT, NO.
XX =| 1, Joe Ali Fawez 7 Shady Hallow Dearborn Mi 48124 48 | M7] W | 01-19.
Aidy Seceph Ali Awe 2 Yo Ae 14> 1965
XX = |2. Kevin Leigh Baatz 7061 Birchdale Romulus 3 4 Gh M! W., | 12-02-
Lo78
XX PS. tte Westland Dearborn Mi 48126 ABW | 717 a
Xx 4. Scott James Shillair 706! Birchdale Romulus Mi 48174 1965
vos 12-17-
Co ee | BEML OW Foe
OFFENSE (TO BE FILLED IN DYPROSECUTOR) f
wee. Attichd a
TIME DATE OF OFFENSE PLACE OF OFFENSE DATE OF COURT FILE TACKET NUMBER
COMPLAINT NUMBER
8:34a & 5-6-2013 & 5-8-2013 8122 W Fort 13GA030
8:07 (@ vid
COMPLAINANT'S NAME 1 Energy Plaza SEX") AGE DOB [RACE | RELATION TO DEE
DETROIT, MICHIGAN
DTE Energy
OTHER PENDING CHARGES COMPLAINANT'S PHONE
313-235-7733

PERSON TO SION eee ee ne) ASSISTANT ERSSECUIING ATTQRADY_ fpf (107s
ey
t

During the month of May 2013 DTE Energy reported several break-ins at Walker Substation 286 Walker
Street and St, Louis Substation 6211 Bast Nevada. During these break-ins copper and brass material
was stolen. This material is described as “jumpers”. The jumpers are clearly labeled with the subsequent
substation on cach jumper,

On May 8, 2013 in the late morning hours, DTE Energy Corporate Security Investigator Derek Hassan
issued a Theft Alert for the jumpers described above. In the Theft Alert, Hassan ineluded two clear
photographs of the jumpers and added a further description of the material, explaining the “rash of
thefts” and that the “ends are made of brass”,

On May 9, 2013 at approximately 12:20pm (more than 24 hours after the Theft Alert had been issued)
Hassan arrived at Southwest Metals located at 8122 W Fort. Street holding one of the jumpers in his
hand, with the intention of showing employeea at Southwest Metals a sample of the material, Upon
arrival ha encountered a female employee who he asked for the owner, Joa Fawaz, The employee
proceeded to call Fawaz on the phone. While waiting, Hassan decided to approach the General Manager,
defendant Michael Yazback, (known to Hassan as “Moo Moo”) who was nearby working one of the scales.
Hassan observed defendant Yazback look in hia direction, but Yazback avoided eye contact as Hassan
approached. As Hassan got closer, defendant Yazback continued to ignore him. Hassan had to ask for
defendant Yazback’s attention. Haasan, suspecting Yazback had observed the jumper in his hand and
knew the reason for his visit, decided to tell defendant Yazback he was at the location to retrieve his
jumpers, instead of asking if the defendant has seen the jumpers, Once gaining Yazback’s attention
Hassan held the jumper in the air and stated “I am here to retrieve my jumpers”. Haasan described
defendant Yazback’s reaction to the request as “dejected” and then said defendant Yazback led him to the
hack of the business (or east side) where the itema at Southwest Metals are placed on “tag and hold’, On
the way to the rear of the business Hassan observed defendant Fawaz, who appeared oxtremely nervous
and proceeded to the front office area walking past Hassan. Defandant Yazback looked around the area,
then told Hassan he would need a hi-lo to retrieve the material. Hassan asked defendant Yazback if he
knew who had sold the material, and Yazback nodded yes, then left Hassan to retrieve the seller's
information and gat a hiclo, Hassan began ‘ooking for the material in the tag and hold area, and couldn't
locate any bins containing the jumpers, Defendant Hawaz reappeared and began making amall talk with
Hassan, showing Hassan the Theft Alert Hassan had isaued on his I-Phone, Hassan asked Fawaz why he
failed to call him in regards to the Theft Alert. Defendant Fawaz did not answer him. Hassan was
eventually led to the north side of the building, outside the warehouse, where he found the DT'E Energy
jumpers with the plastic and brass ends, which are labeled “Walkr Substa” and “StLus Substa” and also
contain a bar code or serial number, Hassan did not see the solid brass ends inside the bin and the bin
did not contain a tag describing the seller of the matorial (it should ba noted that the “tag and hold” area
at Southwoat Metals is located inside the warehouse at the east aide of the building, not outside on the
north side of the by ding), Hassan asked defendant Pawaz about the solid braas ends and Fawaz led him
to aba

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APPROVED TY

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- Filed 04/07/15 Page 6 of 12
‘Case 2:15-cv-11080-MOB-APP ECF No. 16,10. Pagelp.408
“ PROSECUTING ATTORNEY'S
RECOMMENDATION
[_] MISDEMEANOR [-] FELONY INCUSTODY? NO PRECINGT (DETROIT) G.A.U, DATE
getROr 56-2013 .
DEPARTMENT iQ peny [}recommenn rue issuine oF A WARRANT AGAINST: :
nied NAME ADDRESS AGE | SEX | RACE D.O.B, IDENT. NO, 4
I. Joe Ali Fawaz 7 Shady Hallow Dearborn Mj 48124 48 1 M Ws 1-19-1965
2. Kevin Leigh Baatz 7061 Birehdale Romulus Mi 48174 34 M W 12-02-1978
3, Michael Yuztackw833-Westtmiy TeasonT MT as 1D hfe, OFI-L965 ee, .
4. Scott James Shillair 7061 Birchdale Romutus Mi 48174 33 M Ww 12-17-1979
‘ I
OFFENSE (TO BE FILLED IN BY PROSECUTOR) TAPE NUMBER
te MNhichd :
A
SECTION (TO BE FILLED IN BY PROSECUTOR) PAGE NUMBER :
COMPLAINANT'S NAME ADDRESS CITY STATE
City of Detroit Detroit Michigan
INSTRUCTIONS SIGNED 2 Mermsataaes
Hiched Abn. Metin, YIO75
&
DP.O. 467G C of D—273-RE ASSISTANT PROSECLITING ATTORNEY wees

DPD 497-8(10-77) aes

‘Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.409 Filed 04/07/15 Page 7 of 12

INVESTIGATOR’S REPORT SUPPLEMENT

Paga TWo

Name of
Defendant #4 only Joe Ali Fawaz Offense No,

Date of Complaint: fo- Res

DETAILS GF INVESTIGATION {Continued}
which contained the material. Defendant Fawaz then told Hassan that he would get the rest of the
material for him. Hassan was voluntarily given over 2, 000 pounds of insulated wire and brags that had
been purchased by Southwest Metals from a peddler by the name of DeAnthony Richardson, BM 19.
Richardson was not a licensed contractor and was nat required to provide any documentation for the
transactions involving the DTE Energy jumpers.

On May 24, 2013 defendant Fawaz was interviewed by Detroit Police Officer Joe Burton of the General
Assignment Unit in regards to the sale of the jumpers, Fawaz stated in this interview that the Southweat
Metals purchased the material on May 8, 2013 at approximately 8:00am and Hassan’s Theft Alert was
iasued at 11:36am. Fawaz went on to aay that the seller, DeAnthony Richardson returned two or three
days later with the same material and Fawaz turned him away. Fawaz stated that Southwest Metals has
purchased the same material from Richardson on 8 to 10 other occasions and Richardson was paid $1,
000 to $1,600 on each occasion,

On May 24, 2013, defendant Baatz was interviewed by Officer Burton. Defendant Baaiz admita to
purchasing jumpers from Richardson, Baatz referred to the material that he purchased from Richardson
as “copper wire” in his statement (even as the material is clearly more than mere copper wire). When
asked if the material had any markings on it, Baatz replied that it hag “Retest markings, but no ID” (the
wire is marked “retest” and next to the word “retest” is the substation label and a bar code or gerial
number), Baatz stated that he asked. Richardson where he had obtained the material and Richardson
told him he obtained the material from a “demo job” (no further inquiry was made). Baatz admits to
purchasing the material on at least two occasions,

In August 2013, Detroit Police Sergeant Rebecca McKay was transferred back to the General Assignment
Unit after being assigned elsewhere ainca February 2013. In late August Sergeant McKay was made
aware of the above described chain of events and reopened the case to pursue charges against the above
named individuals who participated in the purchase and concealing of the DTE Energy property,

On September 30, 2013 Sergeant McKay reviewed the case file for DeAnthony Richardson. Sergeant
McKay noted that the jumpers represented in the photographs taken by Investigator Hassan are an item
not commonly found in a scrap yard. In fact the material is se different, it would take an inspection of the
material to know exactly what it consists of. The long cable is clearly marked “jumper cable” and sore
cables are sheathed with bright red covering and others with black. Also connected to the ends of the long
cables are plastic and brass ends. Tha plastic ends ava labeled with “STLUS SUBSTA 39 IN JUMPERS ,
RETEST 2018” and “WALKR SUBSTA 10 FT JUMPERS . RETEST 2017" (the size and year of retest
may vary). A bar code with a serial number can be found under the labels. The year reflected on tha
cables show the material is not old or outdated, and to the lay person probably still in use by some entity,
in this case, D''H Energy. Sargeant McKay confirmed the significance of the date as the next time the
jumper needs calibration,

Sergeant McKay also reviewed video of the sales transactions that took place at Southwest Metals on
May 6, 2018 and May 8, 2013.

> On May 6, 2013 defendant Shillair is working the scale and assists Richardson and another
BM accomplice in loading the material into a bin on the scale, The plastic end capa with the
identifying markings are connected and there are numerous jumpers weighed. On this date
defendant Yazback can be seon working the ferrous scale confirming his presence on thia day.

> On May 8, 2013 defendant Baatz is working the scale and asaists Richardson and tha same
BM accomplice in loading the materlal onto the scale. Baatz appears to unserew one of the
brass ends from the plastic end cap (with the identifying markings) of ono of the jumpers
during this process, probably pointing out that the ends are brasa (which would conatitute a
different price),

On September 30, 2013 Sergeant McKay with Detroit Police Officer Tommy Beli of the General
Assignment Unit went to Southwest Metals to talk to defendant Fawaz in regarda to the purchasing of
the substation jumpers (the conversation waa audio recorded), Upon arrival Fawaz waived the officers
down signaling for them to come into the non forroua scale area. Sargeant McKay began asking queations
in regards to the substation material, Defendant Fawaz immadiatoly hannma wnwaws aad bin |

* Case 2:1

Sa already and everything. Fawaz continued to tell Sergeant McKay that he didn’t
remember the details of the situation. Fawaz continued to try to divert the conversation to implicate his
scale operators in the purchase of the material. When he was asked if he knew the material was on his
premises after it was purchased, he admitted that he in fact did know the material was on his premises,
but failed to call police. Sergeant McKay asked him why he did not call the police when the Theft Alert
was issued, and Fawaz would respond by saying he didn’t receive the Theft Alert until later in the day,
Sergeant McKay teld Fawaz that she knows he receives the Theft Alerta on his cell phone and his cell
phone remains on his person. Sergeant McKay explained that he had received the Theft Alert more than
24 hours prior to Hassan’s arrival at the businesa on May 9, 2013. Sergeant McKay pulled the
photographs out and pointed out the clearly labeled markings on the jumpers to defendant Fawaz and he
responded by saying “this stuff shouldn't have been bought. I wouldn’t have bought this.” When ha was
asked if he frequently checks his yard, he admitted he does, but then blamed the scale operators for the
actual purchase of the material, Defendant Fawaz was asked repeatedly how the same material with the
same markings could have been purchased on 8 to 10 different occasions without any red flags going up
(the material would’ve sat in the yard for seven days on “tag and hold” if Fawaz was properly holding the
material), Fawaz would continue to divert attention away from him and blame tho scale operators (the
same scale operators who are still currently employed by Fawaz at Southwest Metals). Fawaz claimed ha
tagged and held the material and that he has another “tag and hold” area outside on the north side of the
building (it should be noted that Sergeant McKay has never known Southwest Metals to store tag and
hold items outside, that she has never sean taga on any items located outside, and Hassan indicated he
did not see any taga on the material when he found it at the yard on May 9, 2013), Fawaz would admit
that he is at Southwest Metals everyday and that he did observe the material on the premises after it
was purchased, but continued to state that “I didn’t purchase the material”. Fawaz would continue to say
that no where on the wire waa there a label, “DTE”, so he would have no way of knowing it was DTE's
material. Fawaz would admit that his scale operators are an extension of him, but continued to say “T
didn’t buy it”,

Derek Haasan (civilian) DTE Energy Investigator will testify ta the ongoing investigation, to break-ing
and thefts of DTE Energy Substation jumpers, to issuing a Theft Alert, to receiving no calls from
defendant Fawaz, to encountering the General Manager, defendant Yazback who led Hassan to the
material outside at the north end of the business, to Fawaz arriving and providing receipts and video,
Detroit Police Officer Carmen Diaz (3314/NE) will testify to the substation break in reported on May 6,
2013.

Detroit Police Officer Jennifer Brunson (TCRU) will tastify to the substation break in reported on May
6, 2013 at Walker Substation,

Detroit Police Officer Catherine Zakens (2661/NE) will testify to the substation break in reported on
May 8, 2013 at Walker Substation,

Detroit Police Officer Frank McCord (8424/NE) will testify to the substation break in reported on May 8,
2013 St, Louis Substation.

Detroit Police Officer Joe Burton (Narco/2176) will testify to the original statement taken from Fawaz.
Detroit Police Officer Tommy Bell (1602/GAU) will testify to the interview with Joe Fawaz on
September 30, 2015.

Sergeant Rebecca McKay (8397/GAU) will testify to the interview with Fawaz on September 30, 2013, to
reviewing the case and reopening same and conducting the investigation in to Southwest Metala.

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REGISTER OF ACTIONS
Case No. 13719345-02

State of Michigan v Kevin Leigh Baatz Case Type: Noncapital Felonies

Date Filed: 10/02/2043
Location: 36 District Court, Detroit
Case Tracking Number: 13719345-02
CRISNETAncident No; 7368050069

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RELATED CASE INFORMATION

Related Cases
13719345-01 (Co Defendant)
19719345-03 (Co Defendant)

PARTY INFORMATION

Lead Attorneys
Defendant Baatz, Kevin Leigh Male White Attorney Unreported
DOB: 12/02/1978 Retained
Plaintiff State of Michigan

Dennis M. Doherty
(313) 967-6861(W)

CHARGE INFORMATION
Charges; Baatz, KevinLelgh wn Statute" =~ ot  Lewel  g
“1. Buy/Sel Stolen Non Ferrous Metals-1st Offense (Cortspiracy) 4454332 . 05/06/2013
2, Stolen Property - Receiving and Concealing -$1,000 00 or More 75053834, . 05/06/2073
But Less Than $20, (Conspiracy)
3. Stoten Property - Receiving and Conceaiing -$1,000 00 or More 7505353A 06/06/2013
But Less Than $20,
4. Buy/Sell Stolen Non Ferrous Metals-tst Offense 4454332 05/66/2013

Evrnts & ORDERS OF TH COURT

OTHER EVENTS AND HEARINGS
10/02/2013] Recommendation for Warrant

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Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.413 Filed 04/07/15 Page édedf di21

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REGISTER OF ACTIONS
Casu: No. 13719345-01

State of Michigan v Joe All Fawaaz

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‘ Criminal Cases Web Access Instruction Manual

Case Type: Noncapital Felonies
Date Filed: 10/02/2013
Location: 36 District Court, Detroit

Case Tracking Number: 13719346-04
CRISNET/tncident No.: 41305050069

RELATED CASE INFORMATION

Related Casas
13719345-02 (Co Defendand
13719345-03 (Co Defendant)

PARTY INTORMATION

Lead Attorneys
Defendant Fawaaz, Joe All Maie White Attorney Unreported
DOB: 01/19/1965 Retained
Plaintiff State of Michigan Dennis M. Doherty
(313).967-8861(W)
CHARGE INFORMATION
Charges: Fawaaz, Joe All _ oo, coe eee tet teen GS RREULE: co ce Peygpoe Date ere
“tl” Buy/Sell Stolen Non Ferrous Metals-1st Offense (Conspiracy) 4464332 . 05/06/2013
2, Stolen Property - Receiving and Concealing -$1,000 90 or More 75083534 06/06/2013
But Less Than $20, (Conspiracy)
3. Stolen Property - Receiving and Concealing -$1,000 00 or More 76053534, 05/06/2013

But Less Than $20,

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS
10/02/2013| Recommendation for Warrant

http://10.0,225, 16/casemanagement/publicaccess/CaseDetail agnx?Cacel 27 2S4NAR ANOMALA

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REGISTER OF ACTIONS
Case No. 13719345-03

State of Michigan v Scott James Shillalr

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* * Case 2:15-cv-11080-MOB-APP ECF No. 16-10, PagelD.414 Filed 04/07/15 Page agedf di21

Location : Criminal Cases Web Access Instruction Manual

Case Type: Noncapital Felonies
Date Fited: 10/02/2013
Location: 36 District Court, Detroit

Case Tracking Number. 13719345-03
CRISNET/Incldent No.: 1305060069

RELATED CASE INFORMATION

Related Cases
13719345-01 (Co Defendant)
13719345-02 (Co Defendant)

PARTY INFORMATION
Léad Attorneys
Defendant Shillair, Scott James Male White Attorney Unreported
DOB: 1247/1979 Retained
Plalntlf State of Michigan Dennis M. Doherty
(313) 967-6851()
CHARGE INFORMA'TION
Charges: Shillalr, Scott James _ _ cee teuaen wut wu ea Statute Level__— “es Date =e
aoe een Boy SéEll Stolen Non Ferrous Metais-tst Offense (Conspiracy) 4454332 . 05/06/2013
2. Stolen Property - Receiving and Concealing -$1,000 00 or More 75053534 05/06/2013
But Less Than $20, (Conspiracy)
3. Stolen Property - Receiving and Concealing -§1,000 00 or More 7605353A, 05/06/2013
But Less Than $20,
4, Buy/Sell Stolen Non Ferrous Metals-1st Offense 4454332 05/06/2013

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS

10/02/2013] Recommendation for Warrant
10/02/2013] Habitual Offender

http://10.0,225.16/casemanagement/publicaccess/CaseDetail.asnx?CaselN=7244060 VW1eMATA

